                 IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION

                              Civil Action No. 3:20-CV-207


 SELECTIVE INSURANCE COMPANY
 OF SOUTH CAROLINA, an Indiana
 corporation,

                 Plaintiff,

 v.
                                                       COMPLAINT FOR
 LAWN ETC., LLC, a North Carolina                    DECLARATORY RELIEF
 limited liability company  d/b/a
 CORRECTIVE           LANDSCAPE
 SERVICES; ADAM C. DUFFY; and
 LYDIA DUFFY,

                 Defendants.


       NOW COMES Selective Insurance Company of South Carolina, by and
through undersigned counsel, complaining of Lawn Etc., itself and d/b/a Corrective
Landscape Services, Adam C. Duffy in his individual capacity, and Lydia Duffy in her
individual capacity, and avers and alleges as follows:

                              NATURE OF THE ACTION

1.      This is a declaratory judgment action in which the Plaintiff seeks an Order
        from this Honorable Court that, inter alia, declares that the maximum
        potential available coverage for the Defendants Duffy under the insurance
        policy issued by the Plaintiff is three hundred thousand and 00/100 dollars
        ($300,000.00).

                                       PARTIES

2.      Selective Insurance Company of South Carolina (“Plaintiff” or “Selective”) is a
        corporation duly organized under the laws of the State of Indiana, with its
        principal place of business in Hamilton County, Indiana.

3.      Defendant Lawn Etc., LLC (“Lawn Etc.”) is a limited liability company
        organized under the laws of the State of North Carolina with its principal place
        of business in Union County, North Carolina.
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4.      Upon information and belief, Lawn Etc. does business under its own name and
        as Corrective Landscape Services.

5.      Defendant Adam C. Duffy (“Mr. Duffy”) is a citizen of the State of North
        Carolina and resides in Union County, North Carolina. Mr. Duffy is the
        manager and registered agent for Lawn Etc.

6.      Defendant Lydia Duffy (“Mrs. Duffy”) is a citizen of the State of North Carolina
        and resides in Union County, North Carolina.

                        JURISDICTIONAL ALLEGATIONS

7.      There is complete diversity of citizenship between the parties.

8.      The present dispute involves underinsured motorist coverage contained in an
        insurance policy issued by Selective. As described in greater detail infra,
        Selective seeks an Order from this Honorable Court declaring that three
        hundred thousand and 00/100 dollars ($300,000.00) is its total combined
        potential responsibility to the Defendants Duffy. Thus, the amount in
        controversy is in excess of seventy-five thousand dollars ($75,000.00), exclusive
        of interest and costs.

9.      As such, this Court has jurisdiction over this matter pursuant to 28 U.S.C. §
        1332, and Plaintiff seeks relief under Fed. R. Civ. P. 57 and 28 U.S.C. § 2201
        et seq.

10.     Pursuant to 28 U.S.C. § 1391(b)(1)-(2), venue in this judicial district is proper
        because: (1) one or more of the defendants reside therein; and (2) a substantial
        part of the events or omissions giving rise to the claim occurred therein.

                              FACTUAL ALLEGATIONS

        I.      Underlying Accident

11.     On or around September 30, 2016, the Defendants Duffy were traveling on
        State Highway 218 in Union County, North Carolina.

12.     Mr. Duffy was operating their 2002 Harley Davidson motorcycle with Mrs.
        Duffy as a passenger, when they were involved in an accident with a 2014
        Chevrolet operated by Jon Ryan Williams (“Mr. Williams”).

13.     The law enforcement report for this accident states that “[Mr. Williams’
        vehicle] was traveling north on SR 1606. [The Duffys’ motorcycle] was
        traveling east on NC 218. [Mr. Williams’ vehicle] went left of center to make
        a left turn onto NC 218. [Mr. Williams’ vehicle] failed to yield the right of way
        to [the Duffys’ motorcycle], [the Duffys’ motorcycle] collided into [Mr. Williams’
        vehicle]. [Mr. Williams’ vehicle] moved to the shoulder of the roadway. [The

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        Duffys’ motorcycle] came to rest in the roadway. [The Duffys] were not wearing
        DOT approved helmets.”

        II.     Policies of First-Dollar Coverage

14.     Thereafter, upon information and belief, Mr. Williams’ automobile insurance
        provider, State Farm, tendered its liability limits of $100,000 per person.

15.     After this accident and the tendering of the policy limits by Mr. Williams’
        automobile insurer, Defendants Duffy sought additional indemnification under
        underinsured motorist (“UIM”) provisions from four different insurance
        policies, including that of Selective.

16.     Nationwide Property and Casualty Insurance Company (“Nationwide”) issued
        a personal automobile insurance policy in North Carolina, policy number
        6132C497150, to Mrs. Duffy, which includes UIM coverage limits in the
        amount of $100,000 per person and $300,000 per accident.

17.     Upon information and belief, as of the filing of this lawsuit, Nationwide has
        tendered to Defendants Duffy its coverage limits, adjusted pro rata to account
        for the tender by State Farm. Defendants Duffy have accepted that tender.

18.     Progressive Southeastern Insurance Company (“Progressive”) issued a
        personal automobile insurance policy in North Carolina, policy number
        56204916-5 to Mr. Duffy, which includes UIM coverage limits in the amount of
        $250,000 per person and $500,000 per accident.

19.     Upon information and belief, as of the filing of this lawsuit, Progressive has
        tendered to Defendants Duffy its coverage limits, adjusted pro rata to account
        for the tender by State Farm. Defendants Duffy have accepted that tender.

20.     Southern Insurance Company of Virginia (“Southern”) issued a personal
        automobile insurance policy in North Carolina, policy number XAP4024346, to
        Mr. Duffy, which includes UIM coverage limits in the amount of $100,000 per
        person and $300,000 per accident.

21.     Upon information and belief, as of the filing of this lawsuit, Southern has
        tendered to Defendants Duffy its coverage limits, adjusted pro rata to account
        for the tender by State Farm. Defendants Duffy have accepted that tender.

22.     The personal automobile policies issued by Nationwide, Progressive, and
        Southern contain mutually repugnant excess or ‘other insurance’ provisions.

23.     The personal automobile policies issued by Nationwide, Progressive, and
        Southern are primary UIM policies.




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        III.    Selective’s Business Automobile Policy

24.     Selective issued a business automobile insurance policy in North Carolina,
        policy number S1612082 (“Selective Policy”) to Lawn Etc. and Mr. Duffy,
        including the assumed business name Corrective Landscape Services. The
        Selective Policy had an effective date on or around July 6, 2016.

25.     The Selective Policy contains UIM coverage limit of one million and 00/100
        dollars ($1,000,000.00) per accident. A true and accurate copy of the Selective
        Policy issued to Defendants Lawn Etc. and Mr. Duffy is attached hereto as
        Exhibit 1.

26.     In addition to the insurance policies they have already collected upon,
        Defendants Duffy seek additional payment from the Selective Policy under the
        UIM coverage.

27.     The Selective Policy contains a more specific excess provision than the policies
        issued to the Defendants Duffy by Nationwide, Progressive, and Southern.

28.     The Selective Policy states in relevant part:




29.     The highest applicable limit for any one vehicle under any coverage form or
        Policy providing coverage on either a primary or excess basis is the Selective
        Policy’s UIM coverage limit of $1,000,000.

30.     The total sum of the accepted tenders by primary UIM insurers Nationwide,
        Progressive, and Southern to Defendants Duffy was seven hundred thousand
        and 00/100 dollars ($700,000.00).

31.     The maximum coverage potentially available to Defendants Duffy under the
        excess UIM Selective Policy is $300,000, the difference between that paid by
        the primary UIM insurers and “the highest applicable limit for any one vehicle
        under any coverage form or policy providing coverage on either a primary or
        excess basis [which is $1,000,000].”
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32.     Defendants Duffy incorrectly claim that they are entitled to $1,000,000 in
        coverage under the Selective Policy.

33.     Defendants Duffy make this contention despite the unambiguous language of
        the Selective Policy which limits the maximum total recovery to “the highest
        applicable limit for any one vehicle under any coverage form or policy providing
        coverage on either a primary or excess basis.”

                                FIRST CLAIM FOR RELIEF
                      28 U.S.C. § 2201 et seq.—Declaratory Judgment

34.     The previous allegations are re-alleged and incorporated as if fully set forth
        herein.

35.     Selective seeks relief pursuant to 28 U.S.C. § 2201 et seq.

36.     An actual case or controversy exists between the parties concerning the
        respective rights of the parties to the Selective Policy (i.e., Selective, Lawn Etc.,
        and Mr. Duffy), and those who seek coverage under the Selective Policy (i.e.,
        the Defendants Duffy).

37.     Selective is a party to, and thus interested in, the construction of the provisions
        of the Selective Policy. Selective has joined all known interested parties.

38.     Selective is entitled to a declaration from this Honorable Court that $300,000
        is its total combined potential responsibility to the Defendants Duffy under the
        Selective Policy.

        WHEREFORE, Selective respectfully requests the following relief:

1.      That the Court enter an order and judgment in favor of Selective, and against
        the Defendants, declaring that three hundred thousand dollars ($300,000) is
        its total combined potential responsibility to the Defendants under the
        Selective Policy, as more fully described supra;

2.      That the Court tax the Defendants with the costs and reasonable attorneys’
        fees required by the Plaintiff to prosecute this action; and

3.      That the Court grant any other relief it deems just and proper.

        RESPECTFULLY SUBMITTED, this, the 3rd day of April, in the year 2020.

                                           s/ Bradley K. Overcash
                                           Bradley K. Overcash [N.C. Bar #36978]
                                           Daniel E. Peterson [N.C. Bar #41521]
                                           PARKER POE ADAMS & BERNSTEIN LLP


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